DATE: June 7, 2022



             The following case in which the Court of Appeals issued a published opinion has been
          disposed of by the Supreme Court:

          1. Alonzo Devon White
             v. Commonwealth of Virginia
             Record No. 0994-20-4
             Opinion rendered by Judge Russell
              on October 21, 2021
             Refused (211059)
       On May 19, 2022 the Supreme Court issued an opinion in the following case, which had
been appealed from this Court

    1. Chesapeake Hospital Authority, etc.
       v. State Health Commissioner, et al.
       Record No. 0116-20-1
       Memorandum opinion rendered by Judge Athey on October 27, 2020
        Judgment of Court of Appeals reversed and matter remanded to this Court
         for remand to the Commissioner for reconsideration
       (201510)
